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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                )
                                                )
  PLANNED PARENTHOOD SOUTHEAST,                 )
  INC., et al.,                                 )
                                                )
                      Plaintiffs,               ) Civil Action No. 1:21-cv-00117 (JEB)
                                                )
        v.                                      )
                                                )
 XAVIER BECERRA, et al.,                        )
                                                )
                      Defendants.               )




[PROPOSED] ORDER GRANTING SECOND CONSENT MOTION TO EXTEND TIME
                   TO RESPOND TO COMPLAINT

       Having considered the Second Consent Motion to Extend Time to Respond to the

Complaint, it is hereby ordered that the motion is GRANTED. Defendants will file their Answer

or otherwise respond to the Complaint by June 24, 2021.

       It is so ORDERED this day, ________, 2021.



                                                           _______________________________
                                                                JAMES E. BOASBERG
                                                          UNITED STATES DISTRICT JUDGE
